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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION
LA UNIÓN DEL PUEBLO ENTERO et al.

vs.                                                 Case No.: 5: 21-cv-844-FB
GREGORY W. ABBOTT, in his official
capacity as the Governor of Texas, et al.

                       MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Michael C. Keats                                          , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Plaintiffs LA UNIÓN DEL PUEBLO ENTERO, SOUTHWEST

VOTER REGISTRATION EDUCATION PROJECT, MEXICAN AMERICAN BAR

ASSOCIATION OF TEXAS, TEXAS HISPANICS ORGANIZED FOR POLITICAL

EDUCATION, JOLT ACTION, WILLIAM C. VELASQUEZ INSTITUTE, and FIEL

 HOUSTON INC.
in this case, andwould respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)

               Fried, Frank, Harris, Shriver & Jacobson LLP              with offices at:

               Mailing address: One New York Plaza

               City, State, Zip Code: New York, New York 10004

               Telephone: (212) 859-8000                    Facsimile: (212) 859-4000
               (PDLl: michael.keats@friedfrank.com


       2.      Since   January 23, 1996                       , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of New York                     .

               Applicant's bar license number is 2720860                                                .
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     3.       Applicant has been admitted to practice before the following courts:

              Court:                                       Admission date:
               Supreme Court                               October 3, 2016

               First Circuit                               February 6, 1996

               Second Circuit                              January 30, 2019
               Ninth Circuit                               September 21, 2000

               Tenth Circuit                               April 9, 2014

               D.C. Circuit                                July 29, 2016
               Southern District of New York               April 20, 1999

               Eastern District of New York                April 20, 1999

               United States Tax Court                     February 18, 2020
               New York State                              January 23, 1996

4.        Applicant is presently a member in good standing of the bars of the courts listed above,

          except as provided below (list any court named in the preceding paragraph before which

          Applicant is no longer admitted to practice):
          N/A




5.        I       hhave
                    av          KDve not previously applied to Appear Pro Hac Vice in this district

          court in Case[s]:

          Number:                              on the          y of                       ,          .

          Number:                              on the          y of                       ,          .

          Number:                              on the          y of                       ,          .
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     6.    Applicant has never been subject to grievance proceedings or involuntary removal

           proceedings while a member of the bar of any state or federal court, except as

           provided:
           N/A




     7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

           except as provided below (omit minor traffic offenses):
           N/A




8.        Applicant has read and is familiar with the Local Rules of the Western District of Texas

          and will comply with the standards of practice set out therein.


9.        Applicant will file an Application for Admission to Practice before the United States

          District Court for the Western District of Texas, if so requested; or Applicant has

          co-counsel in this case who is admitted to practice before the United States District

          Court for the Western District of Texas.

          Co-counsel: Nina Perales, Mexican American Legal Defense and Educational Fund

          Mailing address: 110 Broadway, Suite 300

          City, State, Zip Code: San Antonio, TX 78201

          Telephone: (210) 845-5147
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          Should the Court grant applicant's motion, Applicant shall tender the amount of $••••••
                                                                                              .00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
 Michael C. Keats                        to the Western District of Texas pro hac vice for this case only.


                                                      Respectfully submitted,

                                                      Michael C. Keats
                                                      [printed name of Applicant]
                                                       /s/ Michael C. Keats

                                                      [signature of Applicant]




                                     CERTIFICATE OF SERVICE

       I hereby certify that I have FDXVHGWREHserved a true and correct copy of this motion upon

each attorney ofrecord and the original upon the Clerk of Court on this the 3rd day

of September              , 2021 .
                                                       Michael C. Keats
                                                      [printed name of Applicant]

                                                       /s/ Michael C. Keats
                                                      [signature of Applicant]
